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                                                                       January 8, 2024

 Via ECF
 Hon. Taryn A Merkl, U.S.M.J.
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

        Re:     Status Report and Extension of Time to Complete Discovery
                Qi v. JD Produce Maspeth LLC et al, 21-cv-03211-WFK-TAM

 Your Honor,

         We represent the plaintiff in the above referenced matter. We write with defendants in
 regard to Your Honors order dated October 25, 2023, that the parties are to write to the court
 regarding the status of discovery and whether the parties would like to be referred to mediation or
 a settlement conference on or before January 8, 2024. The parties additionally respectfully request
 an extension of time of forty-five (45) days to complete discovery in the matter. This is the parties
 third request with Your Honor granting the previous two and such request will not prejudice any
 party in the above referenced matter.

         As the parties reported to the court in their last status report that the depositions of the
 parties would be completed by the end of December, the parties though needed to reschedule the
 depositions due to some last-minute emergencies on plaintiff’s end. Plaintiffs tried to reschedule
 the depositions to early January, but defendants were not available to hold depositions during that
 point and therefore the parties were unable to come up with dates to hold depositions prior to the
 close of discovery.

         The parties though have come up with new deposition dates in February and both sides
 have confirmed their attendance at the depositions. With the depositions happening in mid-
 February though, the parties would need a little extension of time to complete the depositions of
 the parties and any post-deposition discovery that may be needed. The parties believe that forty-
 forty (45) days extension from the deadline that is currently set, January 29, 2024, would be
 sufficient to finish up the remainder of discovery in the above referenced matter.

        The parties additionally agree that it is their position that they would like to be referred to
 mediation after the completion of discovery in the above referenced matter.

         For the reasons stated above, the parties respectfully request for a forty-five (45) day
 extension to complete discovery, meaning that all discovery be completed by March 14, 2024. The
 parties further request that all other deadlines be extended accordingly.

        We thank the court for their time and consideration in the above-referenced matter and
 apologize for the inconvenience.
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                                              Respectfully submitted,
                                              TROY LAW, PLLC

                                               /s/ John Troy
                                              John Troy
                                              Attorney for Plaintiffs

 cc: via ECF
     all counsel of record

 JT/gd




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